                   Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 1 of 7



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10
                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ARIZONA
11

12   United States of America,
          Plaintiff,                                    Case No. CR-13-1607
13

14            v.                                        SENTENCING MEMORANDUM
15
     Jean Baptiste Kingery,
16         Defendant.
17

18

19
              NOW COMES the Defendant to submit his sentencing memorandum.
20
                                      UNDERLYING FACTS
21

22            Mr. Kingery was arrested in Mexico on August 31, 2011, at the behest of
23
     the United States Government.1 For another 28 months, Mr. Kingery would sit in
24

25   a Mexican jail, until Mexico executed from the United States a provisional arrest
26
     warrant for him.
27

28

29
     1   U.S. Office of Inspector General, U.S. Department of Justice, A Review of ATF’s


                                               Page 1
             Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 2 of 7



1          As of the sentencing hearing in this case, he will have been in custody in
2
     Mexico and the United States four years, eleven months, and sixteen days.
3

4          While he was held in Mexico and the United States decided what to do
5
     with him, Mr. Kingery was tortured. Mr. Kingery was beaten and kicked in his
6

7
     eyes, face, ribs, stomach, back, and testicles. He would be bound and

8    blindfolded, so he could not protect himself during the beatings. He was tired to
9
     a chair, with a plastic back over his head, suffocating him. If he fainted, he
10

11   would be woken up by getting slapped. He would be tied by his hands and feet
12
     and someone would sit on top of him, with his head covered with a cloth and
13

14   would pour water on his face. He would be hit hard in both ears. They would
15
     take off his clothes showered him with cold water and give him electric shocks.
16
           The details of this torture will be described further at the sentencing
17

18   hearing. Mr. Kingery’s experience is consistent with the reports of human rights
19
     violations in Mexican prisons.2
20

21         Mr. Kingery has been treated for the psychological damage from this

22
     experience that also will be discussed further at sentencing.
23

24

25
     2 “Torture in Mexico is Out of Control,” Amnesty International, available at
26   https://www.amnesty.org/en/latest/campaigns/2015/10/stop-torture-
27
     mexico/ (last visited September 12, 2016). See also, “Mexico Human Rights
     Report,” United States Department of State, at 1-3, 4-6, available at
28
     https://www.state.gov/documents/organization/236914.pdf (last visited
29   September 12, 2016).


                                             Page 2
             Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 3 of 7



1                                       ARGUMENT
2
           The Sentencing Reform Act unequivocally requires each sentence to be
3

4    “[no] greater than necessary,” to meet the considerations of 18 U.S.C. §
5
     3553(a)(2). The record fails to show how an incarceration term, for this
6

7
     Defendant, is necessary. Federal prison sentences are long and costly and they

8    do little to prepare prisoners for successful reentry and contribute to increased
9
     recidivism. Inmates are released after lengthy sentences untreated, unable to
10

11   find employment, and without family ties, thus leading to the commission of
12
     further crimes.3 As Justice Kennedy said, “our resources are misspent, our
13

14
     punishments too severe, our sentences too long. In the federal system the

15   sentencing guidelines are responsible in part for the increased terms,” and they
16
     “should be revised downward.”4
17

18         The Eleventh Circuit noted in United States v. Burgos, that a sentencing
19
     court’s basis for an incarceration sentence is rooted in only three considerations:
20

21
           [I]f sentencing a defendant who is a one-time offender, a judge may avoid
           incarceration and focus on rehabilitative programs. Further, we have
22         explained elsewhere that, “[f]or purposes of determining the need for
23

24   3The Sentencing Project, Incarceration and Crime: A Complex Relationship 7-8
25   (2005), available at
     http://www.sentencingproject.org/doc/publications/inc_iandc_complex.pdf .
26
     (hereinafter “Incarceration and Crime”)
27
     4 Speech at the American Bar Association Annual Meeting, Associate Justice
28
     Anthony M. Kennedy, August 9, 2003,
29   http://www.supremecourtus.gov/publicinfo/speeches/sp_08-09-03.html.


                                             Page 3
                Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 4 of 7



1             incarceration, Congress specified that only the first three goals, punishment,
2             general deterrence, and specific deterrence, could be considered.

3
     276 F.3d 1284, 1290 n. 6 (11th Cir. 2010)(internal cites omitted).
4
              Here, no further incarceration is required to meet those three goals.
5

6    I.   Mr. Kingery’s Lack of Criminal History and Age Show His Risk of
7
     Reoffending is Low.

8             According to the PSR, the Mr. Kingery has no prior criminal convictions
9
     and, therefore, a criminal history score of zero. (PSR at Para 29) True “first
10

11   offenders” present measurably different recidivism risks from those with one
12
     criminal history point in criminal history category I. In a 2003 study, the United
13

14
     States Sentencing Commission found that those defendants with zero criminal

15   history points were 22.6% less likely to reoffend than those with one criminal
16
     history point.5 For defendants such as Mr. Kingery, who have no prior
17

18   convictions, the rate of recidivism was only 6.8%.6 Therefore, just using this
19
     factor, Mr. Kingery has a 93.2% probability of not re-offending.
20

21
              In a study released in March 2016, defendants with a criminal history score

22   of zero had the lowest likelihood of reoffending of all defendants. This
23

24   5 United States Sentencing Commission, Recidivism and the First Offender: A
     Component of the Fifteen-Year Report of the U.S. Sentencing Commission’s Legislative
25
     Mandate, May 2004, at 13, available at
26   http://www.ussc.gov/sites/default/files/pdf/research-and-
27
     publications/research-publications/2004/200405_Recidivism_First_Offender.pdf
     (last visited March 17, 2016)
28
     6
29       Id. at 14.


                                               Page 4
                Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 5 of 7



1    likelihood was less than two-thirds that of defendants with criminal history
2
     scores of one.7
3

4             Just applying this factor, which is not fully considered by the Sentencing
5
     Guidelines, Mr. Kingery is among the least likely of federal defendants to re-
6

7
     offend. The Guidelines do not account for this significant difference in risk.

8    Rather, they lump those defendants with no criminal history in with those
9
     defendants who have one point, although the difference in their recidivism rates
10

11   is pronounced.
12
              Additionally Mr. Kingery is 45-years-old. (PSR at 2) His risk of re-
13

14
     offending, based only on his age, is 35.9 percent.8

15   II.   The Torture Mr. Kingery Experienced While In Mexican Custody
16   Presents a Sentencing Factor Under 18 U.S.C. § 3553(a) Not Addressed by the
     Sentencing Guidelines.
17

18            Extraordinary pretrial conditions can support a sentence below the range
19
     set forth in the guidelines. For example, the Second Circuit, in United States v.
20

21
     Carty, 264 F.3d 191, 296 (2004), noted that the Sentencing Guidelines do not

22
     consider conditions of a pre-sentence detainee’s confinement. See also, United
23

24
     7
25     Hunt, Kim S. and Robert Dumville, United States Sentencing Commission,
     Recidivism Among Federal Offenders: A Comprehensive Overview, at 19, March 2016,
26
     available at http://www.ussc.gov/sites/default/files/pdf/research-and-
27   publications/research-publications/2016/recidivism_overview.pdf (last visited
     September 12, 2016) (hereinafter “Recidivism Among Federal Defenders”)
28
     8
29       Id. at 23.


                                               Page 5
             Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 6 of 7



1    States v. Rodriguez, 213 F.Supp. 1298 (Ala. 2002)(prison guard rape of a federal
2
     prisoner, pre-sentencing, entailed an extraordinary presentence condition to
3

4    support a downward departure).
5
           The Mexican Government held Mr. Kingery for 28 months, before the
6

7
     United States issued its warrant. During that time, he was tortured. The United

8    States knew where Mr. Kingery was. Mr. Kingery’s arrest in Mexico was
9
     concocted and executed by the United States. At one point, prosecutors from the
10

11   Los Angeles United States Attorney’s Office visited him in the Mexican prison.
12
     These conditions certainly are not considered by the Sentencing Guidelines.
13

14
     They are extraordinary.

15                                    CONCLUSION
16
           For the foregoing reasons, the Defendant asks this Court to adopt the plea
17

18   agreement. He further asks this Court to either apply the time between his arrest
19
     in Mexico and the issuance of the extradition warrant to his time served or
20

21
     fashion a sentence that takes into consideration not only the time served, but also

22   the conditions in which Mr. Kingery sat while the Government decided whether
23
     or not to extradite him.
24

25         Respectfully submitted this Twelfth day of September, 2016
26
                                           s/Joy Bertrand
27                                         Attorney for the Defendant
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29




                                             Page 6
             Case 2:13-cr-01607-SRB Document 75 Filed 09/12/16 Page 7 of 7



1                              CERTIFICATE OF SERVICE
2
           On September 12, 2016, I, Joy Bertrand, attorney for the Defendant, Jean
3

4    Baptiste Kingery, filed the foregoing with the District of Arizona’s electronic
5
     filing system. Based on my training and experience with electronic filing in the
6

7
     federal courts, it is my understanding that a copy of this pleading will be

8    electronically served upon opposing counsel, upon its submission to the Court.
9
     A copy also will be served upon Mr. Kingery via United States mail.
10

11         Respectfully submitted this Twelfth day of September, 2016.
12

13

14
                                           s/Joy Bertrand
                                           Joy Bertrand
15                                         Attorney for Defendant
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